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          2.        Service was effected on Crete through its agent for service of process on December

28, 2020.

          3.        Service was effected on Hartford through its agent for service of process on

December 21, 2020.

          4.        Upon information and belief, Plaintiff requested service on Spadafora via the

Louisiana Long Arm Statute. As of the date of this filing, however, this is no record of service on

Spadafora.

          5.        Upon information and belief, Plaintiff has not requested service on Progressive.

Thus, as of the date of this filing, there is no record of service on Progressive.

          6.        Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders issued

in state court are attached in globo as Exhibit 1 to this Notice of Removal.

          7.        In the Petition, Plaintiff alleges that, on or about April 20, 2020, she was operating

a vehicle eastbound on Interstate 10 in Baton Rouge.1 Plaintiff further alleges that, at the same

time, a “large diesel truck” operated by Spadafora and owned by Crete, which was also traveling

eastbound on Interstate 10, crossed into Plaintiff’s travel lane and collided with Plaintiff’s vehicle.2

          8.        Plaintiff allegedly sustained “harms and losses” as a result of the accident.3

Specifically, Plaintiff asserts the following categories of special and general damages: past and

future medical expenses, lost wages, future loss of earning capacity, pain and suffering, loss of

enjoyment of life, and all just and reasonable damages which will be proven at the trial of this

matter.4




1
  See Ex. 1, Petition, at p. 2, ¶4.
2
  See id. at p. 2, ¶¶5-6.
3
  See id. at p. 2, ¶7.
4
  See id.


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          9.        As set forth more fully below, this Court has original subject matter jurisdiction

over this action under 28 U.S.C. § 1332(a) because it is between citizens of different states and the

matter in controversy is likely to exceed $75,000, exclusive of interest and costs. The removing

defendants have also satisfied the procedural requirements for removal. This action is therefore

properly removable to this Court pursuant to 28 U.S.C. § 1441.

I.        Complete diversity exists because Plaintiff is of diverse state citizenship from
          Defendants.

          10.       Plaintiff alleges in her Petition that she is domiciled in East Baton Rouge Parish,

Louisiana.5 Accordingly, upon information and belief, Plaintiff is a citizen of Louisiana.

          11.       Defendant Crete Carrier Corporation is a foreign corporation incorporated in the

State of Nebraska with its principal place of business in Lincoln, Nebraska. Crete is therefore a

citizen of Nebraska for diversity purposes.6

          12.       Defendant Hartford Insurance Company is a foreign corporation incorporated in

the State of Delaware with its principal place of business in Hartford, Connecticut. Hartford is

therefore a citizen of Delaware and Connecticut for diversity purposes.7

          13.       Upon information and belief, Defendant Eric J. Spadafora resides and is domiciled

in Florida.8 Accordingly, Defendants aver that Spadafora is a citizen of Florida. As of the date of

this filing, Defendants are not aware of service of the Petition on Spadafora.

          14.       Upon information and belief, Defendant Progressive Paloverde Insurance

Company is a foreign corporation incorporated in the State of Indiana with its principal place of

business in Cleveland, Ohio. Accordingly, Defendants aver that Progressive is a citizen of Indiana



5
  See id. at p. 1, Intro¶.
6
  See 28 U.S.C. § 1332(c)(1).
7
  See id.
8
  See Ex. 1, Pet., at p. 1, ¶1(b).


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and Ohio for diversity purposes.9 As of the date of this filing, Defendants are not aware of service

of the Petition on Progressive.

         15.      Thus, Plaintiff is of diverse state citizenship from the defendants, and the complete

diversity requirement is satisfied.

II.      This action satisfies the amount in controversy requirement because Plaintiff’s claims
         are likely to exceed the sum or value of $75,000.

         16.      Defendants aver, based on the allegations of Plaintiff’s Petition, coupled with

information and records received to date regarding Plaintiff’s medical treatment, that the amount

in controversy exceeds $75,000, exclusive of interest and costs.

         17.      Consistent with Louisiana law, Plaintiff does not specify the numerical value of her

claimed damages in the Petition.10 The Fifth Circuit has instructed that, in such a situation, the

removing defendant must prove by a preponderance of the evidence that the amount in controversy

exceeds $75,000.11 The defendant may make this showing in either of two ways: (1) by

demonstrating that it is “facially apparent” that the claims are likely above $75,000, or (2) by

“setting forth the facts in controversy,” preferably in the removal petition, that support a finding

of the requisite amount.12

         18.      The Petition alleges that Plaintiff suffered “harms and losses” as a result of the

accident on April 20, 2020.13 The Petition further seeks recovery for damages Plaintiff reportedly

sustained due to these alleged injuries, including past and future medical expenses, pain and

suffering, lost wages, loss of earning capacity, and loss of enjoyment of life.14


9
  See 28 U.S.C. § 1332(c)(1).
10
   See La. Code Civ. Proc. art. 893(A)(1).
11
   Luckett v. Delta Airlines, Inc., 171 F.3d 295, 298 (5th Cir. 1999).
12
   See id. (citing Allen v. R & H Oil & Gas Co., 63 F.3d 1326, 1335 (5th Cir. 1995)).
13
   See Ex. 1, Pet., at p. 2, ¶7.
14
   See id.




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           19.      Whether Plaintiff’s claims exceed $75,000 is not necessarily facially apparent from

the Petition alone. Defendants submit, however, that the factual details of Plaintiff’s injuries and

medical treatment, coupled with the Petition’s allegations of damages, provide sufficient

information to establish that Plaintiff’s claims exceed the $75,000 amount in controversy threshold

by a preponderance of the evidence.

           20.      First, medical information received by Defendants through discovery demonstrate

the following regarding Plaintiff’s injuries:15

           (a)      Plaintiff’s alleged injuries include neck pain, left arm pain, shoulder pain, back

                    pain, right knee pain, and right leg pain with weakness, numbness, and tingling

                    down to the right foot;

           (b)      Since the accident, Plaintiff has been diagnosed with numerous conditions related

                    to the cervical and lumbar spine, including degeneration of lumbar intervertebral

                    disc, lumbar radiculopathy, arthropathy of lumbar facet joints, cervical kyphosis,

                    and prolapsed intervertebral disc;

           (c)      Plaintiff’s post-accident lumbar and cervical MRIs revealed facet arthropathy at

                    L4-L5 and L5-S1 that narrows the neural foramina; abnormal reversal of the

                    cervical lordosis, concerning for muscle spasm; disc herniation at C4-5 with

                    endplate spondylosis producing foraminal narrowing; and disc bulge at C5-6 with

                    endplate spondylosis producing foraminal narrowing;

           (d)      Plaintiff regularly treated with a physical therapist from May 4, 2020 through July

                    9, 2020;




15
     The referenced medical records are attached in globo as Exhibit 2.


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       (e)     Plaintiff regularly treated with a chiropractor from July 9, 2020 through at least

               August 4, 2020 (and recently inquired with her treating orthopedic spine surgeon,

               Dr. Jorge Isaza about a referral for additional chiropractic therapy);

       (f)     After attempting conservative therapies without significant improvement, Dr. Isaza

               referred Plaintiff to pain management physician Dr. Barrett Johnston for

               consultation and evaluation of her ongoing back pain with radicular right leg pain

               and weakness;

       (g)     On October 5, 2020, Dr. Johnston administered a right L5-S1 lumbar

               transforaminal epidural steroid injection, and noted that Plaintiff continued with

               pain despite conservative therapies;

       (h)     On December 14, 2020, Plaintiff underwent lumbar medial branch blocks at the

               bilateral L4-5 and L5-S1 facet joints;

       (i)     On December 28, 2020, Plaintiff underwent repeat lumbar medial branch blocks at

               the bilateral L4-5 and L5-S1 facet joints;

       (j)     On February 4, 2021, Plaintiff underwent a right lumbar medial branch

               radiofrequency ablation at the L3-4, L4-5, and L5-S1 facet joints, a procedure for

               which IV sedation was required;

       (k)     Plaintiff was to be scheduled for a second lumbar medial branch radiofrequency

               ablation procedure on the left side two weeks later; and

       (l)     Plaintiff has thus far incurred medical expenses of at least $28,281.20 through

               February 4, 2021, and her medical treatment is ongoing.

       21.     To sum up, the medical records received to date, all of which reference the April

20, 2020 accident, indicate that Plaintiff has suffered, and continues to suffer from, neck and back




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pain with radicular right leg pain; that she has undergone injections to her lumbar spine, including

an epidural steroid injection and two medial branch blocks; and that she has received at least one

lumbar radiofrequency ablation, and is undergoing, or may have already undergone, a second

radiofrequency ablation on the left side. Furthermore, Plaintiff continues to treat for her alleged

injuries—over one-year post-accident—with an orthopedic spine surgeon and a pain management

physician. To date, Defendants have not received any amending or supplemental discovery

responses indicating that Plaintiff has reached maximum medical improvement or discontinued

treatment.

       22.     Louisiana courts have awarded damages in excess of $50,000 for injuries similar to

those alleged by Plaintiff. See, e.g., Hebert v. Boesch, 15-1791 (La. App. 1 Cir. 6/3/16), 194 So.3d

798 (affirming general damages award of $75,000 where plaintiff was involved in automobile

accident in which he sustained injuries to his neck, back, and shoulders, and MRI scans revealed

disc bulges at C6-7 and L4-5); Lenard v. State Farm Mut. Auto. Ins. Co., 39-580 (La. App. 2d Cir.

4/20/05), 900 So.2d 322 (awarding $55,000 in general damages to plaintiff who suffered

headaches and soft tissue injuries, which required chiropractic treatment and pain medication for

chronic neck and back pain); Chube v. Shelter Mut. Ins. Co., No. C-662616, 2020 WL 9075936

(La. Dist. Ct., 19th JDC, Dec. 16, 2020) (jury verdict awarding $51,000 in general damages and

$5,207 in past medical expenses where plaintiff involved in automobile accident sustained injuries

to her neck, back, and shoulders, and where MRI revealed lumbar disc herniation, for which she

treated conservatively with chiropractor and orthopedic surgeon); Ferguson v. Capital Area

Transp., LLC, No. C-677239, 2020 WL 9073504 (La. Dist. Ct., 19th JDC, Dec. 10, 2020)

(awarding $50,000 in general damages and $13,068.13 in past medical expenses where plaintiff

was diagnosed with cervical disc bulge and herniated disc due to an automobile accident, and




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treated with chiropractor and epidural steroid injection); Miles v. Cummings, No. C-676834 (La.

Dist. Ct., 19th JDC, Sept. 24, 2020) (awarding $90,000 in general damages where plaintiff suffered

disc bulges at the L4-5 and L5-S1 levels due to an automobile accident, and treated conservatively

with chiropractic and epidural steroid injections); Jackson v. Fitzgerald, Case No. C-624302, 2016

WL 6570384 (La. Dist. Ct., 19th JDC, Dec. 10, 2020) (jury verdict awarding $102,500 in general

damages and $28,000 in past medical expenses where plaintiff suffered lumbar facet joint pain due

to automobile accident, and received physical therapy, medial branch block, and ablation); Riley

v. Safeco, No. C-646965 (La. Dist. Ct., JDC, May 29, 2018) (awarding $83,000 in general damages

and where plaintiff involved in automobile accident sustained L4-5 disc injury, for which she

received chiropractic therapy and epidural steroid injection).16 Furthermore, Louisiana federal

district courts have held that the amount in controversy exceeded $75,000 in factually analogous

cases involving back and neck injuries. See, e.g., Thibodeaux v. Geico, No. 16-158-JWD-EWD,

2016 WL 4055660 (M.D. La. July 8, 2016), report and recommendation adopted, No. 16-158-

JWD-EWD, 2016 WL 4033981 (M.D. La. July 26, 2016) (denying plaintiff’s motion to remand

where medical records indicated that plaintiff was diagnosed with a lumbar herniated disc, for

which he received epidural steroid injections, medial branch blocks, and recommendation to

proceed with radiofrequency ablation).

           23.      Additionally, since the value of Plaintiff’s claims was not ascertainable from the

allegations in the Petition, Crete propounded initial discovery to Plaintiff, including a Request for

Admission that Plaintiff’s claims did not exceed $75,000. On January 28, 2021, Defendants were

served with Plaintiff’s Responses to Requests for Admission, wherein Plaintiff refused to admit




16
     The referenced Louisiana Civil District Court judgments are attached in globo as Exhibit 3.


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that her claims did not exceed $75,000.17 Thus, Plaintiff’s responses to Crete’s Requests for

Admission further support a finding that the amount in controversy exceeds $75,000.

         24.       Finally, nowhere in the Petition does Plaintiff allege that the amount of damages

sought is less than the requisite jurisdictional amount, as required by Louisiana Code of Civil

Procedure Article 893A(1). The absence of such a stipulation that the damages Plaintiff seeks fall

below the jurisdictional threshold is further indicative of a sufficient amount in controversy.18

         25.       Defendants therefore submit that Plaintiff’s medical information, plus her ongoing

treatment and the general damages alleged in the Petition (coupled with her refusal to admit or

stipulate that her damages are less than $75,000), all demonstrate by a preponderance of the

evidence that her claims satisfy the requisite amount in controversy.

III.     Defendants have satisfied all procedural requirements for removal.

         26.       The Nineteenth Judicial District Court for the Parish of East Baton Rouge,

Louisiana is located within the Middle District of Louisiana.19 Therefore, this Court is the proper

venue for this case, as the Middle District of Louisiana is the “district and division embracing the

place where such action is pending.”20

         27.       This Notice of Removal was timely filed in accordance with the provisions of 28

U.S.C. § 1446(b)(3).

         28.       Upon information and belief, as of the date of this filing, Crete and Hartford are the

only defendants who have been served with the Petition. Accordingly, the joinder or consent of




17
   See Exhibit 4, Plaintiff’s Responses to Defendant’s Requests for Admission.
18
   See La. Code Civ. Proc. art. 893A(1) (“[I]f a specific amount of damages is necessary to establish the jurisdiction
of the court, . . . [or] the lack of jurisdiction of federal courts due to insufficiency of damages, . . . a general allegation
that the claim exceeds or is less than the requisite amount is required.”).
19
   See 28 U.S.C. § 98(b).
20
   See 28 U.S.C. § 1441(a).


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Spadafora and Progressive is not required, and all defendants who have been served join in the

removal of this action.21

           29.      No previous application has been made for the relief requested herein.

           30.      Per 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders as exists in the

state court record at the time of removal are attached as Exhibit 1.

           31.      A copy of this Notice of Removal is being served upon Plaintiff’s counsel and a

copy is being filed with the Clerk of Court for the Nineteenth Judicial District Court for the Parish

of East Baton Rouge, State of Louisiana in accordance with 28 U.S.C. § 1446(d).22

           WHEREFORE, Defendants, Crete Carrier Corporation and Hartford Insurance Company,

pray that the above numbered and entitled cause on the docket of the Nineteenth Judicial District

Court for the Parish of East Baton Rouge, State of Louisiana, be removed from that court and

placed on the docket of the United States District Court for the Middle District of Louisiana for

further proceedings.



                                          (Signature block on next page)




21
     See 28 U.S.C. § 1446(b)(2)(A).
22
     See Exhibit 5, Notice of Removal to State Court Clerk.


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                                         Respectfully submitted,

                                         IRWIN FRITCHIE URQUHART AND MOORE LLC


DATED: May 7, 2021                       /s/ Shannon M. Kippers
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                                         SHANNON M. KIPPERS (#37738)
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                                         Counsel for Crete Carrier Corporation
                                         and Hartford Insurance Company

                                CERTIFICATE OF SERVICE

        I hereby certify that on this 7th day of May, 2021, the foregoing Notice of Removal was
electronically filed with the Clerk of Court using the CM/ECF system. I further certify that, on the
same day, a copy of said Notice of Removal and attachments will be sent via electronic mail to the
following counsel of record:

                                         Russell W. Beall
                                         William W. Thies
                                         Jacob H. Thomas
                                       G. Aaron Humphreys
                                          Britney R. Duke
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                               Counsel for Plaintiff Miyoshi Snearl


                                                  /s/ Shannon M. Kippers
                                                  Shannon M. Kippers


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                                                                                 Crete Carrier Corporation, Eric J. Spadafora, Hartford
        Myoshi Snearl                                                            Insurance Company, Progressive Paloverde Insurance
                                                                                 Company
                                                   East Baton Rouge Parish, LA                                              Lancaster County, Lincoln, NE




Russell W. Beall, William W. Thies, Jacob H. Thomas, G. Aaron                    Matthew W. Bailey, Shannon M. Kippers, Hillary A. Brouillette;
Humphreys, Britney R. Duke;                                                      Irwin Fritchie Urquhart & Moore LLC, 450 Laurel St, Suite 1150 Baton
Beall & Thies, LLC 351 St. Ferdinand St, Ste. A, Baton Rouge, LA 70802           Rouge, LA 70801; Tel: 225-615-7150
Tel: 225-383-3499



                                                                                                 x

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                    X



                                     28 U.S.C. § 1332



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Case3:21-cv-00709-SDD-SDJ
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                                                                                 63
                                                                            Interventional Pain Institute
                                                                       Itemization of Charges
                                                                        For Posting Date April 14, 2021


Clinic:                Interventional Pain Institute

Address:                6XPPD $YH 6XLWH                                                 Insurance #1:
                       %DWRQ 5RXJH /$ 

Phone:                 (225) 769-3636                                                          Adjuster:

Tax ID:                                                                                        Group Number

WCAB:                                                                                          Policy Number:



Employer:                                                                                      Insurance #2:

Patient #:                                                                                     Adjuster:

Patient:               MIYOSHI SNEARL                                                          Group Number:

Date of Injury:                                                                                Policy Number:




             6HUYLFH            3URYLGHU
Visit #      'DWH               1DPH                      Procedure Description                  Code           Charges        Adjust      Payments       Balance
113701       10/05/2020         Barrett Johnston, M.D.    Injection(s), anesthetic a...          64483          3,200.00    (2,860.41       (339.59)              -
                                                                                                                                    )
113701       10/05/2020         Barrett Johnston, M.D.    MOD SED SAME PHYS/QHP INIT...          99152            300.00     (221.79)        (78.21)              -

113701       10/05/2020         Barrett Johnston, M.D.    OFFICE CONSULTATION NEW/ES...          99244            600.00     (430.39)       (169.61)              -

113701       10/05/2020         Barrett Johnston, M.D.    Injection, dexamethasone s...          J1100             50.00      (48.50)         (1.50)              -

113701       10/05/2020         Barrett Johnston, M.D.    Injection, ondansetron hyd...          J2405              8.00       (7.60)         (0.40)              -

116608       12/03/2020         Danielle Mushinsky, FNP   OFFICE OUTPATIENT VISIT 25...          99214            400.00     (308.03)        (91.97)              -
                                -C

117053       12/14/2020         Barrett Johnston, M.D.    Injection(s), diagnostic o...          64493          3,200.00    (2,798.97       (401.03)              -
                                                                                                                                    )
117053       12/14/2020         Barrett Johnston, M.D.    Injection(s), diagnostic o...          64494            800.00     (595.19)       (204.81)              -

117788       12/28/2020         Barrett Johnston, M.D.    Injection(s), diagnostic o...          64493          3,200.00    (2,798.97       (401.03)              -
                                                                                                                                    )
117788       12/28/2020         Barrett Johnston, M.D.    Injection(s), diagnostic o...          64494            800.00     (595.19)       (204.81)              -

119538       02/04/2021         Barrett Johnston, M.D.    Destruction by neurolytic ...          64635          4,100.00            -              -     4,100.00

119538       02/04/2021         Barrett Johnston, M.D.    Destruction by neurolytic ...          64636          2,500.00            -              -     2,500.00

119538       02/04/2021         Barrett Johnston, M.D.    MOD SED SAME PHYS/QHP INIT...          99152            300.00            -              -        300.00

119538       02/04/2021         Barrett Johnston, M.D.    Injection, ondansetron hyd...          J2405              8.00            -              -          8.00


TOTALS                                                                                                          19,466.00   (10,665.04     (1,892.96)

                                                                                                                                     BALANCE DUE          6,908.00




4/14/2021 12:26:41 PM                                                                                                       EXHIBIT 2                    Page 1 of 1
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            Case3:21-cv-00709-SDD-SDJ
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                                                                          63
Patient:         MIYOSHI SNEARL
DOB:                                           Address:
Sex:             F
MRN:                                           Phone:


Seen By:         Barrett Johnston MD           Location:     Interventional Pain Institute 3
Visit Time:      Dec 03, 2020 12:00 PM         Address:      9001 Summa Ave Ste 346
Referred By: Jorge E Isaza, MD,                              Baton Rouge, LA 70809-3726
                                               Phone:        (225) 769-3636
                                               Fax:          (225) 771-8047


Family History:
Family History -:Cancer (Other), Diabetes (Other)


Social History:
Smoking status: Never smoker (4)


Alcohol Status: Does not drink


Drug Status: Does not take drugs


History of Present Illness:
Back Pain:
The patient presents today with low back pain which has been present for DURATION. The onset of the
pain was gradual and Triggered by everyday activites, Triggered by overuse or exertion..
The pain is located at Middle of lower back and radiates into the right buttocks, into the right leg, down
to R foot.
Other symptoms: Stiffness in lower back, Leg or foot pain, Weakness, numbness or tingling in leg or
foot, difficulty sitting.


The pain is rated as 5 /10 with 10 being the most severe.
The symptoms currently occur constantly . The pain is described as Dull or achy .


The patient states that the current status of the pain is no change .
It is made worse by physical exertion, bending over and relieved by none.


Conservative treatment so far: physical therapy, L-TFESI
MD



Review of Systems:
All examined systems for the ROS performed were negative except the abnormal symptoms:

                                                                                         MS-IPI-000017
           Encounter Note Page # 1 - SNEARL, MIYOSHI            - Enc. Date: Dec 03, 2020 12:00 PM
             Case
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                                                                       3 of 150
                                                                            63
Numbness/Tingling in Extremities, Myalgia


* A list of ROS examination is provided at the end of the Chart Note.


Vitals and Body measurements:
 Ht: 5'8''                     Wt: 204.0 lbs             BMI: 31.0


Physical Examinations:
Constitutional -
general appearance -
Normal (NAD, well developed, well nourished)
Mental Status -
Orientation -
Normal (A+O x3)
Mood -
normal (normal mood and affect)
Skin -
Trauma -
Normal (no bruising)
Infectious process -
Normal (no rash)
Head -
Inspection -
Normal (normocephalic, atraumatic)
Neck -
inspection of neck -
Normal (no jugular distention, no masses, normal appearance, normal tracheal position)
Respiratory -
respiratory effort/rhythm -
Normal (no dyspnea, no use of accessory muscles, normal rate)
Eyes -
EOMI -
Normal (No deficits with eye movement)
Gastrointestinal -
abdominal exam -
Normal (no distention, no tenderness)
Musculoskeletal -
Lumbar Spine -
Normal ROM except (pain with ROM, extension decreased, flexion decreased)
Tenderness (paraspinous m- right)
Sacrum -
Tenderness (SI joint- right)

                                                                                          MS-IPI-000018
             Encounter Note Page # 2 - SNEARL, MIYOSHI           - Enc. Date: Dec 03, 2020 12:00 PM
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                                                1-3 12/15/21
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                                                               Page55
                                                                    4 of 150
                                                                         63
Lower Extremity -
Normal (bulk, FROM)
Neurological -
Cranial Nerves -
Normal (no gross deficits)


* A list of PE examination is provided at the end of the Chart Note.


Assessment:
Active:
    Intervertebral disc displacement, lumbar region (ICD10:M51.26)
    Radiculopathy, lumbar region (ICD10:M54.16)
    Lumbago (ICD10:M54.5)


Impression / Plan:
Procedures:
10/5/20 Right L5-S1 TFESI


Patient is a 37 year old female who was last seen on 10/5/20 when she underwent a right L5-S1 TFESI.
Patient reports 0% pain relief from injection. She rates her lumbar pain today as 5/10 on the pain scale,
L>R. She reports radiculopathy and weakness to right lower extremity. In addition, patient states she
has difficulty sitting and standing for a long period of time. Patient was initially referred by Dr. Isaza for
lumbar pain which began after an MVA that occurred earlier this year. She did try PT but without
significant relief. Patient recently had a follow up with Dr. Isaza who is recommending the patient
receive a bilateral MBB at L5-S1. Based on patient's MRI and symptoms, patient would benefit from
bilateral L4-5, L5-S1 MBB which she will schedule today. If diagnostically positive x2 then patient may
proceed with bilateral L4-S1 RFA. Patient is currently prescribed diclofenac for pain and inflammation
and tizanidine for muscle spasms from Dr. Isaza. All questions were answered today. Risks and
benefits of procedure discussed. PMP reviewed. Follow up after procedure. Treatment plan discussed
with Dr. Johnston who was immediately available in the clinic at the time of service.
I was immediately available during this encounter. I reviewed and agree with the above plan. No
changes recommended. I prescribed the medications. BAJ MD



Orders:
Procedures & Treatments:
    Detailed (99214)



ROS Footnotes:
Standard ROS Exam - This is a complete list of ROS. It does not represent positive nor negative. Please refer
above to Review of Systems for a list of positive symptoms.
Cardiovascular: Chest Pain at Rest, Chest Pain with Exercise, Palpitations
                                                                                            MS-IPI-000019
          Encounter Note Page # 3 - SNEARL, MIYOSHI                - Enc. Date: Dec 03, 2020 12:00 PM
           Case
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 Constitutional: Change in Appetite, Chills, Fatigue, Fever, Night Sweats, Unexplained Weight Change
 Ears, Nose, Throat: dysphagia, Ear Pain, Hearing Loss, Sore Throat
 Eyes: Acute Vision Changes, Glasses or Contacts
 Gastrointestinal: Abdominal Pain, Blood in Stool, Blood in Urine, Constipation, Diarrhea, Nausea / Vomiting
 Genitourinary: Difficulty Urinating, Incontinence, Increased Urinary Frequency
 Hematologic: Bleeding, Bruising
 Musculoskeletal: Arthralgia, Arthritis, Myalgia, Weakness
 Neurological: Bowel or Bladder Incontinence, Headache, Numbness/Tingling in Extremities, Seizures, Weakness
 Respiratory: Cough, Shortness of Breath, Wheezing
 Skin: Rash, Wounds




PE Footnotes:
 Comprehensive Exam PE Exam - This is a complete list of PE. It does not represent positive nor negative.
 Please refer above to Physical Examination for a list of positive observations.
 Constitutional- general appearance
 Extremities- Inspection, Abnormal
 Eyes- EOMI
 Gastrointestinal- abdominal exam
 Head- Inspection
 Mental Status- Orientation, Mood
 Musckuloskeletal- Thoracic- Thoracic Spine
 Musculoskeletal- Cervical- Cervical Spine, Upper Extremity
 Musculoskeletal- Lumbar- Lumbar Spine, Sacrum, Lower Extremity, GTB, Knee
 Neck- inspection of neck
 Neurological- Cervical- Motor - Lower Extremities, Sensory, Deep Tendon Reflexes, Coordination, Reflex,
 Special Tests, Sensation, Strength, Cranial Nerves
 Neurological- Lumbar- Strength, Reflexes, Special Tests, Sensation, Gait
 Respiratory- respiratory effort/rhythm
 Skin- Trauma, Infectious process, Other




Electronically Co-signed by: Mushinsky, Danielle FNP-C @ 09:47 AM on 12/5/2020


Electronically signed by: Johnston, Barrett MD @ 01:03 PM on 12/7/2020




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           Encounter Note Page # 4 - SNEARL, MIYOSHI                   - Enc. Date: Dec 03, 2020 12:00 PM
          Case
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                                                                         63
                               LUMBAR MEDIAL BRANCH BLOCK
SNEARL, MIYOSHI


DOS: 12-14-2020
LOCATION: Interventional Pain Institute
SURGEON: Dr Barrett Johnston
PRE-OPERATIVE DIAGNOSIS: Lumbar Spondylosis
POST-OPERATIVE DIAGNOSIS: Same
PROCEDURE : Bilateral L3, L4, L5 Medial Branch Blocks (Bilateral L4-5, L5-S1 Facet Joints)
under fluoroscopic guidance
DESCRIPTION OF PROCEDURE :The risks and the benefits of the procedure were discussed
with the patient who understood and agreed to proceed. Informed consent was obtained. The
correct site of the procedure was marked. Pre-procedure vital signs were noted to be stable. The
patient was placed in the prone position. Prior to the procedure a time-out was performed
verifying the patient's identity, patient position, site, allergies, and procedure to be performed with
the patient and staff in agreement. The patient received Local anesthesia without sedation . The
skin was sterilized with betadine x 3 and sterile technique was maintained throughout the
procedure. At this point, ethyl chloride spray was used to anesthesize the skin overlying the
lumbar spine. Then, a 25 gauge 3.5 inch spinal needle was advanced to the first facet joint under
fluoroscopic guidance, targeting the corresponding medial branch in the oblique view. AP and
lateral views on fluoroscopy were obtained to ensure correct needle placement. Following
negative aspiration of heme/CSF, a 0.5mL of preservative-free 0.25% Bupivacaine was injected
slowly without resistance or severe pain. This was repeated for the remaining medial branches
and facet joint levels. No evidence of CSF, paresthesia, heme, or severe pain was noted during
the procedure. Vitals signs were stable throughout the procedure. The injection was completed,
the needles flushed with PF saline and removed, and a sterile bandage was applied. The patient
tolerated the procedure well and there were no apparent complications.
IMAGING: Fluoroscopy used to identify and verify needle placement and permanent images
saved.
SPECIMENS : None
ESTIMATED BLOOD LOSS : None
ANESTHESIA : The patient received Local anesthesia without sedation .
COMPLICATIONS : None
DISPOSITION : After a reasonable post-procedure observation period, the patient was
discharged home in good condition.
PLAN :
1. The patient was instructed to avoid strenuous activity for the next 24-48 hours as well as avoid
operating any type of machinery or vehicle for the rest of the day.
2. The patient will return in 2-4 weeks for follow-up evaluation or repeat injection if needed.
3. Patient advised to contact the clinic for any of the following:
a) Fever, chills or night sweats
b) New onset of severe sharp pain
c) Any new weakness, difficulty breathing, or numbness
                                                                                   MS-IPI-000021
                                    SNEARL, MIYOSHI
          Case
           Case3:21-cv-00709-SDD-SDJ
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d) Any questions regarding the procedure
e) Bowel/bladder incontinence
4. If pt unable to contact our clinic, then pt is advised to seek nearby ER.

Barrett Johnston, M.D.




                                                                               MS-IPI-000022
                                   SNEARL, MIYOSHI
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                                                                            63
Patient:          MIYOSHI SNEARL
DOB:                                             Address:
Sex:              F
MRN:                                             Phone:


Seen By:          Barrett Johnston MD            Location:    Interventional Pain Institute 3
Visit Time:       Dec 14, 2020 12:40 PM          Address:     9001 Summa Ave Ste 346
Referred By: Jorge E Isaza, MD,                               Baton Rouge, LA 70809-3726
                                                 Phone:       (225) 769-3636
                                                 Fax:         (225) 771-8047


Family History:
Family History -:Cancer (Other), Diabetes (Other)


Social History:
Smoking status: Never smoker (4)


Alcohol Status: Does not drink


Drug Status: Does not take drugs


Vitals and Body measurements:
 Ht: 5'8''


Assessment:
Active:
    Intervertebral disc displacement, lumbar region (ICD10:M51.26)
    Radiculopathy, lumbar region (ICD10:M54.16)
    Lumbago (ICD10:M54.5)
    Spondylosis, lumbar region (ICD10:M47.896)


Impression / Plan:
Patient comes in today for bilateral L4-S1 MBB per Dr. Isaza’s referral. This is her first block. We will
repeat it in two weeks for a confirmatory block. If she receives two positive diagnostic blocks, proceed
with RFA. Risks and benefits discussed. All questions answered.


Orders:
Procedures & Treatments:
    NJX DX/THER AGT PVRT FACET JT LMBR/SAC 1 LEVEL (64493)
    NJX DX/THER AGT PVRT FACET JT LMBR/SAC 2ND LEVEL (64494)



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                                                                        63
Associated Files:
 Documents: B/L L4-S1 MBB #1 (12/14/2020), 20201214150506118.pdf (12/14/2020)



Electronically signed by: Johnston, Barrett MD @ 02:55 PM on 12/17/2020




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         Encounter Note Page # 2 - SNEARL, MIYOSHI        - Enc. Date: Dec 14, 2020 12:40 PM
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                               LUMBAR MEDIAL BRANCH BLOCK
SNEARL, MIYOSHI


DOS: 12-28-2020
LOCATION: Interventional Pain Institute
SURGEON: Dr Barrett Johnston
PRE-OPERATIVE DIAGNOSIS: Lumbar Spondylosis
POST-OPERATIVE DIAGNOSIS: Same
PROCEDURE : Bilateral L3, L4, L5 Medial Branch Blocks (Bilateral L4-5, L5-S1 Facet Joints)
under fluoroscopic guidance
DESCRIPTION OF PROCEDURE :The risks and the benefits of the procedure were discussed
with the patient who understood and agreed to proceed. Informed consent was obtained. The
correct site of the procedure was marked. Pre-procedure vital signs were noted to be stable. The
patient was placed in the prone position. Prior to the procedure a time-out was performed
verifying the patient's identity, patient position, site, allergies, and procedure to be performed with
the patient and staff in agreement. The patient received Local anesthesia without sedation . The
skin was sterilized with betadine x 3 and sterile technique was maintained throughout the
procedure. At this point, ethyl chloride spray was used to anesthesize the skin overlying the
lumbar spine. Then, a 25 gauge 3.5 inch spinal needle was advanced to the first facet joint under
fluoroscopic guidance, targeting the corresponding medial branch in the oblique view. AP and
lateral views on fluoroscopy were obtained to ensure correct needle placement. Following
negative aspiration of heme/CSF, a 0.5mL of preservative-free 0.25% Bupivacaine was injected
slowly without resistance or severe pain. This was repeated for the remaining medial branches
and facet joint levels. No evidence of CSF, paresthesia, heme, or severe pain was noted during
the procedure. Vitals signs were stable throughout the procedure. The injection was completed,
the needles flushed with PF saline and removed, and a sterile bandage was applied. The patient
tolerated the procedure well and there were no apparent complications.
IMAGING: Fluoroscopy used to identify and verify needle placement and permanent images
saved.
SPECIMENS : None
ESTIMATED BLOOD LOSS : None
ANESTHESIA : The patient received Local anesthesia without sedation .
COMPLICATIONS : None
DISPOSITION : After a reasonable post-procedure observation period, the patient was
discharged home in good condition.
PLAN :
1. The patient was instructed to avoid strenuous activity for the next 24-48 hours as well as avoid
operating any type of machinery or vehicle for the rest of the day.
2. The patient will return in 2-4 weeks for follow-up evaluation or repeat injection if needed.
3. Patient advised to contact the clinic for any of the following:
a) Fever, chills or night sweats
b) New onset of severe sharp pain
c) Any new weakness, difficulty breathing, or numbness
                                                                                   MS-IPI-000025
                                    SNEARL, MIYOSHI
          Case
          Case3:21-cv-00709-SDD-SDJ
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d) Any questions regarding the procedure
e) Bowel/bladder incontinence
4. If pt unable to contact our clinic, then pt is advised to seek nearby ER.

Barrett Johnston, M.D.




                                                                               MS-IPI-000026
                                   SNEARL, MIYOSHI
             Case
             Case3:21-cv-00709-SDD-SDJ
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                                                                                  of150
                                                                                     63
Patient:          MIYOSHI SNEARL
DOB:                                             Address:
Sex:              F
MRN:                                             Phone:


Seen By:          Barrett Johnston MD            Location:   Interventional Pain Institute 3
Visit Time:       Dec 28, 2020 01:20 PM          Address:    9001 Summa Ave Ste 346
Referred By: Jorge E Isaza, MD,                              Baton Rouge, LA 70809-3726
                                                 Phone:      (225) 769-3636
                                                 Fax:        (225) 771-8047


Family History:
Family History -:Cancer (Other), Diabetes (Other)


Social History:
Smoking status: Never smoker (4)


Alcohol Status: Does not drink


Drug Status: Does not take drugs


Vitals and Body measurements:
 Ht: 5'8''


Assessment:
Active:
    Intervertebral disc displacement, lumbar region (ICD10:M51.26)
    Radiculopathy, lumbar region (ICD10:M54.16)
    Lumbago (ICD10:M54.5)
    Spondylosis, lumbar region (ICD10:M47.896)


Impression / Plan:
Patient comes in today for bilateral L4-S1 MBB. This is her second, confirmatory block. She received
her first block two weeks ago with greater than 80% relief for 2 days. If she receives a second positive
diagnostic block, we will proceed with RFA in two weeks. Risks and benefits discussed. All questions
answered.


Orders:
Procedures & Treatments:
    NJX DX/THER AGT PVRT FACET JT LMBR/SAC 1 LEVEL (64493)
    NJX DX/THER AGT PVRT FACET JT LMBR/SAC 2ND LEVEL (64494)


                                                                                         MS-IPI-000027
             Encounter Note Page # 1 - SNEARL, MIYOSHI          - Enc. Date: Dec 28, 2020 01:20 PM
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Associated Files:
 Documents: B/L L4-S1 MBB #2 (12/28/2020), 20201228152704101.pdf (12/28/2020)



Electronically signed by: Johnston, Barrett MD @ 10:56 AM on 12/30/2020




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         Encounter Note Page # 2 - SNEARL, MIYOSHI         - Enc. Date: Dec 28, 2020 01:20 PM
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                                                                         14of
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                                                                               63
                                     LUMBAR RHIZOTOMY

SNEARL, MIYOSHI


DOS: 2-4-2021

LOCATION: Interventional Pain Institute
SURGEON: Dr Barrett Johnston

PREOPERATIVE DIAGNOSIS: Lumbar spondylosis.
POSTOPERATIVE DIAGNOSIS: Same
PROCEDURE : right L3,L4,L5 Lumbar Medial Branch Radiofrequency ablation (RIGHT L3-4, L4-
5, L5-S1 facet joints) under fluoroscopic guidance.
DESCRIPTION OF PROCEDURE :
The risks and the benefits of the procedure were discussed with the patient who understood and
agreed to proceed. Informed consent was obtained. The correct site of the procedure was
marked. Pre-procedure vital signs were noted to be stable. The patient was placed in the prone
position. Prior to the procedure a time-out was performed verifying the patient's identity, patient
position, site, allergies, and procedure to be performed with the patient and staff in agreement.
The patient was given IV moderate sedation by the RN (see nursing notes). The skin was
sterilized with betadyne x3 and sterile technique was maintained throughout the procedure. At
this point using a 25g 1.5 inch needle, the skin overlying the lumbar spine was anesthetized with
2mL of 1% lidocaine. Then, a 18g 3.5 inch 5mm curved active tip radiofrequency needle was
advanced to the first facet joint under fluoroscopic guidance, targeting the corresponding medial
branch in the oblique view. AP and lateral view on fluoroscopy was obtained to ensure correct
needle placement at the junction of the SAP and transverse process. Following placement of the
needle, sensory stimulation at 50 Hz and motor stimulation at 2 Hz was carried out. After
confirmation of needle placement by appropriate impedence, the patient reporting reproduction
of pain, pressure, or sensation in the area of symptoms and denying extremity motor sensations,
the RFL probe was removed from the needle. After negative aspiration, 1ml of 2% lidocaine was
administered. Then, the probe was re-inserted and radiofrequency was performed. The settings
were 80 degrees centigrade for 90 seconds duration. The exact procedure was then performed
at the remaining medial branches. No evidence of CSF, paresthesia, heme, or severe pain was
noted during the procedure. Vitals signs were stable throughout the procedure. The procedure
was completed, needles removed, and a sterile bandage was applied. The patient tolerated the
procedure well and there were no apparent complications.
IMAGING: Fluoroscopy used to identify and verify needle placement and permanent images
saved.
ANESTHESIA : The patient was given IV moderate sedation by the RN (see nursing notes).
Due to the nature of the procedure, the patient received this service to become relaxed and
insensitive to pain but remain awake and able to respond to verbal instruction. It is used to help
patients that are typically nervous, and anxiety driven from the procedure being performed.
Conscious sedation also allows the patient to recover quickly and return to everyday activities
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soon after the procedure, if recommended by a physician. The patient was administered IV
moderate sedation by the RN (see sedation record.) There was continuous monitoring of the
patient's level of consciousness and physiological status.
COMPLICATIONS : None
DISPOSITION : After a reasonable post-procedure observation period, the patient was
discharged home in good condition.


PLAN :
1. The patient was instructed to avoid strenuous activity for the next 24-48 hours as well as avoid
operating any type of machinery or vehicle for the rest of the day.
2. The patient will return in 2-4 weeks for follow-up evaluation or repeat injection if needed.
3. Patient advised to contact the clinic for any of the following:
a) Fever, chills or night sweats
b) New onset of severe sharp pain
c) Any new weakness, difficulty breathing, or numbness
d) Any questions regarding the procedure
e) Bowel/bladder incontinence
4. If pt unable to contact our clinic, then pt is advised to seek nearby ER.



Barrett Johnston, MD




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                                   SNEARL, MIYOSHI
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Patient:          MIYOSHI SNEARL
DOB:                                             Address:
Sex:              F
MRN:                                             Phone:


Seen By:          Barrett Johnston MD            Location:   Interventional Pain Institute 3
Visit Time:       Feb 04, 2021 11:20 AM          Address:    9001 Summa Ave Ste 346
Referred By: Jorge E Isaza, MD,                              Baton Rouge, LA 70809-3726
                                                 Phone:      (225) 769-3636
                                                 Fax:        (225) 771-8047


Family History:
Family History -:Cancer (Other), Diabetes (Other)


Social History:
Smoking status: Never smoker (4)


Alcohol Status: Does not drink


Drug Status: Does not take drugs


Vitals and Body measurements:
 Ht: 5'8''


Assessment:
Active:
    Intervertebral disc displacement, lumbar region (ICD10:M51.26)
    Radiculopathy, lumbar region (ICD10:M54.16)
    Lumbago (ICD10:M54.5)
    Spondylosis, lumbar region (ICD10:M47.896)


Impression / Plan:
Patient comes in today for right L4-S1 RFA. She received two positive diagnostic blocks with greater
than 80% pain relief for several hours so we will proceed with right L4-S1 RFA today. Schedule for left
L4-S1 RFA in two weeks. Procedure risks and benefits discussed. All questions answered.


Orders:
Procedures & Treatments:
    Moderate sedation services; initial 15 minutes of intraservice time, patient age 5 years or older
    (99152)
    DSTR NROLYTC AGNT PARVERTEB FCT SNGL LMBR/SACRAL (64635)
    DSTR NROLYTC AGNT PARVERTEB FCT ADDL LMBR/SACRAL (64636)
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Associated Files:
 Documents: Left L4-S1 RFA (2/4/2021)



Electronically signed by: Johnston, Barrett MD @ 01:41 PM on 2/4/2021




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               LUMBAR TRANSFORAMINAL EPIDURAL STEROID INJECTION



SNEARL, MIYOSHI


DOS: 10-5-2020
LOCATION: Interventional Pain Institute
SURGEON: Dr Barrett Johnston
PREOPERATIVE DIAGNOSIS: Lumbar Disc Disease, Lumbar Radiculopathy
POSTOPERATIVE DIAGNOSIS: Same
PROCEDURE : Right L5-S1 Lumbar Transforaminal Epidural Steroid Injection under
Fluoroscopic Guidance
DESCRIPTION OF PROCEDURE :
The risks and the benefits of treatment were discussed with the patient who understood and
agreed to proceed with the procedure. Risks including infection, hematoma, headache, nerve
damage, paralysis, spinal cord infarction and death were specifically emphasized. Informed
consent was obtained and the correct site of the procedure was marked. Pre-procedure vital
signs were noted to be stable and an intravenous line was in place for the procedure. The patient
was placed in the prone position. Prior to the procedure a time-out was performed verifying the
patient's identity, correct position and site, allergies, and correct procedure to be performed with
the patient and medical staff in agreement. The patient was given IV moderate sedation by the
RN (see nursing notes). The skin was sterilized with betadine x3 and sterile technique was
maintained throughout the procedure. At this point, ethyl chloride spray was used to anesthetize
the skin overlying the lumbar spine. Under direct radiographic guidance, a 25 gauge 3.5 inch
Quincke needle was advanced carefully towards the desired Right L5-S1 neuroforamen. Under
AP and lateral fluoroscopic view, the needle was advanced into the neuroforamen. Following
needle placement, the same technique was carried out for each needle, as follows. Meticulous
care was taken not to move the needle for the duration of the injection. After negative aspiration
for heme or CSF, 0.5cc of Omnipaque 240mg/cc was injected under live, continuous fluoroscopy
in the AP view. Lateral views also confirmed placement. The patient reported no persistent
paresthesias. No signs of intravascular or intrathecal uptake was noted on fluoroscopy.
Aspiration was again negative. Then, 10mg of dexamethasone was mix with 1cc of 0.25%
bupivacaine for each of the injection sites. Equal portions of this medication mixture was then
injected into the needle under low resistance. The needle was then flushed and removed. After
all needles were injected, the area was cleaned off and sterile bandages were applied. The
patient was taken to the recovery room. Following the procedure the patient's vital signs were
noted to be stable and recorded in the nursing chart. The patient tolerated the procedure well,
there were no complications associated with the procedure. The patient was discharged home in
good condition after being given discharge instructions.
IMAGING: Fluoroscopy used to identify and verify needle placement and permanent images
saved.
SPECIMENS : None
ESTIMATED BLOOD LOSS : none
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ANESTHESIA : The patient was given IV moderate sedation by the RN (see nursing notes).
Due to the nature of the procedure, the patient received this service to become relaxed and
insensitive to pain but remain awake and able to respond to verbal instruction. It is used to help
patients that are typically nervous, and anxiety driven from the procedure being performed.
Conscious sedation also allows the patient to recover quickly and return to everyday activities
soon after the procedure, if recommended by a physician. The patient was administered IV
moderate sedation by the RN (see sedation record.) There was continuous monitoring of the
patient's level of consciousness and physiological status.
COMPLICATIONS : None
DISPOSITION : After a reasonable post-procedure observation period, the patient was
discharged home in good condition.
PLAN :
1. The patient was instructed to avoid strenuous activity for the next 24-48 hours as well as avoid
operating any type of machinery or vehicle for the rest of the day.
2. The patient will return in 2-4 weeks for follow evaluation or repeat injection if needed.
3. Patient advised to contact the clinic for any of the following:
a) Fever, chills or night sweats
b) New onset of severe sharp pain
c) Any new weakness, difficulty breathing, or numbness
d) Any questions regarding the procedure
e) Bowel/bladder incontinence
4. If pt unable to contact our clinic, then pt is advised to seek nearby ER.


Barrett Johnston, M.D.




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Patient:         MIYOSHI SNEARL
DOB:                                           Address:
Sex:             F
MRN:                                           Phone:


Seen By:         Barrett Johnston MD           Location:     Interventional Pain Institute 3
Visit Time:      Oct 05, 2020 02:00 PM         Address:      9001 Summa Ave Ste 346
Referred By: Jorge E Isaza, MD                               Baton Rouge, LA 70809-3726
                                               Phone:        (225) 769-3636
                                               Fax:          (225) 771-8047


Family History:
Family History -:Cancer (Other), Diabetes (Other)


Social History:
Smoking status: Never smoker (4)


Alcohol Status: Does not drink


Drug Status: Does not take drugs


History of Present Illness:
Back Pain:
The patient presents today with low back pain which has been present for DURATION. The onset of the
pain was gradual and Triggered by everyday activites, Triggered by overuse or exertion..
The pain is located at Middle of lower back and radiates into the right buttocks, into the right leg, down
to R foot.
Other symptoms: Stiffness in lower back, Leg or foot pain, Weakness, numbness or tingling in leg or
foot, difficulty sitting.


The pain is rated as 6 /10 with 10 being the most severe.
The symptoms currently occur constantly .


The pain is described as Dull or achy .


The current the symptoms are Stable .
It is made worse by physical exertion, bending over and relieved by none.


Conservative treatment so far: physical therapy, none, which have had the effect of not helping the
pain.




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Review of Systems:
All examined systems for the ROS performed were negative except the abnormal symptoms:
Numbness/Tingling in Extremities, Myalgia


* A list of ROS examination is provided at the end of the Chart Note.


Vitals and Body measurements:
 Ht: 5'8''                     Wt: 200.0 lbs             BMI: 30.4


Physical Examinations:
Constitutional -
general appearance -
Normal (NAD, well developed, well nourished)
Mental Status -
Orientation -
Normal (A+O x3)
Mood -
normal (normal mood and affect)
Skin -
Trauma -
Normal (no bruising)
Infectious process -
Normal (no rash)
Head -
Inspection -
Normal (normocephalic, atraumatic)
Neck -
inspection of neck -
Normal (no jugular distention, no masses, normal appearance, normal tracheal position)
Respiratory -
respiratory effort/rhythm -
Normal (no dyspnea, no use of accessory muscles, normal rate)
Eyes -
EOMI -
Normal (No deficits with eye movement)
Gastrointestinal -
abdominal exam -
Normal (no distention, no tenderness)
Musculoskeletal -
Lumbar Spine -
Normal ROM except (pain with ROM, extension decreased, flexion decreased)
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Tenderness (paraspinous m- right)
Sacrum -
Tenderness (SI joint- right)
Lower Extremity -
Normal (bulk, FROM)
Neurological -
Cranial Nerves -
Normal (no gross deficits)


* A list of PE examination is provided at the end of the Chart Note.


Assessment:
Active:
   Intervertebral disc displacement, lumbar region (ICD10:M51.26)
   Radiculopathy, lumbar region (ICD10:M54.16)
   Lumbago (ICD10:M54.5)


Impression / Plan:
The patient comes in today for right L5-S1 transforaminal epidural steroid injection as referred by Dr.
Isaza. This began following a motor vehicle collision earlier this year. She did therapy without significant
relief. Pain radiates down the right leg with numbness and tingling into the right foot. Positive straight
leg raise on exam. We will do right L5-S1 transforaminal epidural steroid injection today. I would like her
to follow with Dr. Isaza for results. We could repeat in one month if she does get greater than 50%
relief. All questions were answered today.



Orders:
Procedures & Treatments:
   Comprehensive (99204)
   NJX ANES&/STRD W/IMG TFRML EDRL LMBR/SAC 1 LVL (64483)
   Injection, dexamethasone sodium phosphate, 1 mg (J1100)
   Moderate sedation services; initial 15 minutes of intraservice time, patient age 5 years or older
   (99152)



Associated Files:
Documents: TFESI Lumbar (10/5/2020), 20201005163656522.pdf (10/5/2020), Nursing Note
(10/5/2020)



ROS Footnotes:
Standard ROS Exam - This is a complete list of ROS. It does not represent positive nor negative. Please refer
above to Review of Systems for a list of positive symptoms.
                                                                                            MS-IPI-000008
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 Cardiovascular: Chest Pain at Rest, Chest Pain with Exercise, Palpitations
 Constitutional: Change in Appetite, Chills, Fatigue, Fever, Night Sweats, Unexplained Weight Change
 Ears, Nose, Throat: dysphagia, Ear Pain, Hearing Loss, Sore Throat
 Eyes: Acute Vision Changes, Glasses or Contacts
 Gastrointestinal: Abdominal Pain, Blood in Stool, Blood in Urine, Constipation, Diarrhea, Nausea / Vomiting
 Genitourinary: Difficulty Urinating, Incontinence, Increased Urinary Frequency
 Hematologic: Bleeding, Bruising
 Musculoskeletal: Arthralgia, Arthritis, Myalgia, Weakness
 Neurological: Bowel or Bladder Incontinence, Headache, Numbness/Tingling in Extremities, Seizures, Weakness
 Respiratory: Cough, Shortness of Breath, Wheezing
 Skin: Rash, Wounds




PE Footnotes:
 Comprehensive Exam PE Exam - This is a complete list of PE. It does not represent positive nor negative.
 Please refer above to Physical Examination for a list of positive observations.
 Constitutional- general appearance
 Extremities- Inspection, Abnormal
 Eyes- EOMI
 Gastrointestinal- abdominal exam
 Head- Inspection
 Mental Status- Orientation, Mood
 Musckuloskeletal- Thoracic- Thoracic Spine
 Musculoskeletal- Cervical- Cervical Spine, Upper Extremity
 Musculoskeletal- Lumbar- Lumbar Spine, Sacrum, Lower Extremity, GTB, Knee
 Neck- inspection of neck
 Neurological- Cervical- Motor - Lower Extremities, Sensory, Deep Tendon Reflexes, Coordination, Reflex,
 Special Tests, Sensation, Strength, Cranial Nerves
 Neurological- Lumbar- Strength, Reflexes, Special Tests, Sensation, Gait
 Respiratory- respiratory effort/rhythm
 Skin- Trauma, Infectious process, Other




Electronically signed by: Johnston, Barrett MD @ 11:16 AM on 10/7/2020




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 24215       99214   07/08/2020 07/15/2020     CHARGE              99214     BCBS-   JORGE ISAZA   $546.00
                                                                                LA
 24215       99214   07/08/2020 07/30/2020     PAYMENT                ACH    BCBS-   JORGE ISAZA   $-58.20
                                                          ************5765      LA
 24215       99214   07/08/2020 07/30/2020   ADJUSTMENT   CONTRACTUAL        BCBS-   JORGE ISAZA $-437.80
                                                               (177029)         LA
 24215       99214   07/08/2020 07/30/2020   TRANSFERIN          COPAY PATIENT       JORGE ISAZA   $-50.00           $50.00
 24215       99214   07/08/2020 01/25/2021     PAYMENT       UNAPPLIED PATIENT       JORGE ISAZA                     $-50.00
                                                                                     OUTSTANDING     $0.00   $0.00    $0.00
Claim ID 24561
 24561       99213   08/06/2020 08/10/2020     CHARGE              99213     BCBS-   JORGE ISAZA   $390.00
                                                                                LA
 24561       99213   08/06/2020 08/27/2020     PAYMENT                ACH    BCBS-   JORGE ISAZA   $-23.70
                                                          ************0709      LA
 24561       99213   08/06/2020 08/27/2020   ADJUSTMENT   CONTRACTUAL        BCBS-   JORGE ISAZA $-316.30
                                                               (177029)         LA
 24561       99213   08/06/2020 08/27/2020   TRANSFERIN          COPAY PATIENT       JORGE ISAZA   $-50.00           $50.00
 24561       99213   08/06/2020 01/25/2021     PAYMENT       UNAPPLIED PATIENT       JORGE ISAZA                     $-50.00
                                                                                     OUTSTANDING     $0.00   $0.00    $0.00
Claim ID 24849
 24849       76140   08/28/2020 09/03/2020     CHARGE              76140     BCBS-   JORGE ISAZA   $101.40
                                                                                LA
 24849       76140   08/28/2020 09/17/2020     PAYMENT                ACH    BCBS-   JORGE ISAZA    $-1.00
                                                          ************2779      LA
 24849       76140   08/28/2020 09/17/2020   ADJUSTMENT   CONTRACTUAL        BCBS-   JORGE ISAZA $-100.40
                                                               (177029)         LA
                                                                                     OUTSTANDING     $0.00   $0.00    $0.00
 24849       99214   08/28/2020 09/03/2020     CHARGE              99214     BCBS-   JORGE ISAZA   $546.00
                                                                                LA
 24849       99214   08/28/2020 09/17/2020     PAYMENT                ACH    BCBS-   JORGE ISAZA   $-58.20
                                                          ************2779      LA
 24849       99214   08/28/2020 09/17/2020   ADJUSTMENT   CONTRACTUAL        BCBS-   JORGE ISAZA $-437.80
                                                               (177029)         LA
 24849       99214   08/28/2020 09/17/2020   TRANSFERIN          COPAY PATIENT       JORGE ISAZA   $-50.00           $50.00
 24849       99214   08/28/2020 01/25/2021     PAYMENT       UNAPPLIED PATIENT       JORGE ISAZA                     $-50.00
                                                                                     OUTSTANDING     $0.00   $0.00    $0.00
Claim ID 25524
 25524       99213   10/21/2020 10/22/2020     CHARGE              99213     BCBS-         CLINT   $390.00
                                                                                LA     COSTANZA
 25524       99213   10/21/2020 11/05/2020     PAYMENT                ACH    BCBS-         CLINT   $-37.65
                                                          ************6234      LA     COSTANZA
 25524       99213   10/21/2020 11/05/2020   ADJUSTMENT   CONTRACTUAL        BCBS-         CLINT $-327.35
                                                               (177029)         LA     COSTANZA
 25524       99213   10/21/2020 11/05/2020   TRANSFERIN          COPAY PATIENT             CLINT   $-25.00           $25.00
                                                                                       COSTANZA
 25524       99213   10/21/2020 01/25/2021     PAYMENT       UNAPPLIED PATIENT             CLINT                     $-25.00
                                                                                       COSTANZA
                                                                                     OUTSTANDING     $0.00   $0.00    $0.00
Claim ID 26803
 26803       99213   01/29/2021 02/04/2021     CHARGE              99213     BCBS-   JORGE ISAZA   $390.00
                                                                                LA
 26803       99213   01/29/2021 02/18/2021     PAYMENT                ACH    BCBS-   JORGE ISAZA   $-23.70
                                                          ************8876      LA
 26803       99213   01/29/2021 02/18/2021   ADJUSTMENT   CONTRACTUAL        BCBS-   JORGE ISAZA $-316.30
                                                               (177029)         LA
 26803       99213   01/29/2021 02/18/2021   TRANSFERIN          COPAY PATIENT       JORGE ISAZA   $-50.00           $50.00
 26803       99213   01/29/2021 03/02/2021     PAYMENT       UNAPPLIED PATIENT       JORGE ISAZA                     $-50.00
                                                                                     OUTSTANDING     $0.00   $0.00    $0.00
                                                 TOTAL CHARGE OUTSTANDING AS OF 04/15/2021          $0.00 $0.00       $0.00

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MRI, CERVICAL SPINE, W/O CONTRAST (             , 03/14/2021 12:00am)




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Chief Complaint
 Neck Pain, lower back pain

 Ms. Snearl is here for an initial evaluation for neck pain, left arm pain, lower back and right leg pain after being
 involved in a motor vehicle accident on 4/20/20. She was a restrained driver travelling in the right lane on the
 interstate in a merging lane. She states an 18 wheeler travelling in the left lane came over into her lane. Her
 vehicle was hit on the rear driver's side and spun around due to the impact. This impact caused her to hit the
 guardrail. The air bags did deploy. She did not lose consciousness. She states her 1 year old son was in the car.
 The ambulance transported her and her son to OLOL Children's Hospital. He suffered a gash on across his nose
 and eye. After her son's discharge, she transported herself to Patient Plus Urgent Care where she had x-rays and
 was prescribed methocarbamol and ibuprofen.
 She states she began having lower back pain immediately following the accident. A few hours later, she began
 having neck pain. She states she had to go back to urgent care two days later due to her having chest pains. She
 was having pain with coughing and laughing. Urgent Care performed a chest x-ray stating she had a rib contusion.
 As the days go by, her neck and lower back pain has progressed.
 She has not had any other treatment for her injuries. She states that she has not had any previous injury or
 treatment to her neck and lower back.
 She describes her neck pain as and aching sensation. She also has pain in the left upper extremity. She denies
 any radiating pain, numbness or balance issues.
 She describes her lower back pain as and aching sensation with radiating pain in the right lower extremity. She
 also has numbness in the right lower extremity. She has recently developed tingling in the right foot.
 She denies any issues with her bladder or bowels.
 Walking and bending increases her pain.
 She works as a Project Developer at Louisiana Department of Health.
 On average, she rates her neck pain a 6/10 and an 8/10 in the right leg.
Pat ient 's Care Team
 Ot her: RACHELLE SANDERS: 10310 THE GROVE BLVD., BATON ROUGE, LA 70836, Ph (225) 761-5200, Fax (225)
 761-7222 (deleted)
Pat ient 's Pharmacies
 WALGREENS DRUG ST ORE #02980 (ERX): 4747 S SHERWOOD FOREST BLVD, BAT ON ROUGE LA 70816,
 Ph (225) 292-8975, Fax (225) 292-4746
Vit als
               Ht : 5 ft 8 in                       Wt : 192 lbs                 Pain Scale: 6 04/30/2020
                    04/30/2020 08:59                     04/30/2020 08:59                      09:03 am
                    am                                   am                                    8 04/30/2020
                                                                                               09:03 am

            BMI: 29.2 04/30/2020
                    08:59 am

Allergies
 Reviewed Allergies
 NKDA
Medicat ions

 Reviewed Medications

 ibuprof en 800 mg t ablet                                                         04/30/20 entered
 Take 1 tablet(s) 3 times a day by oral route.

 met hocarbamoL 750 mg t ablet                                                     04/30/20 entered
 Take 1 tablet(s) 3 times a day by oral route.

Vaccines
 None recorded.
Problems
 Reviewed Problems
 No known problems
     Degeneration of lumbar intervertebral disc
     Neck pain
     Low back pain
     Cervical kyphosis
Family Hist ory
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 Reviewed Family History
 Maternal Grandmother                             - Malignant neoplastic disease
                                                     - breast cancer
                                                  - Diabetes mellitus
 Mother                                           - Diabetes mellitus
Social Hist ory
 Reviewed Social History
 Ort hopedic Surgery
 Tobacco Smoking Status: Never smoker
 Non-smoker
 Smokeless Tobacco Status: Never used smokeless tobacco
 E-cigarette/Vape Status: Never used electronic cigarettes
 Are you currently employed?: Y
 Employer: LDH
 Occupation: Project Developer
 Live alone or with others?: with others
 Able to Care for Self: Y
 Chewing tobacco: none
 Alcohol intake: Occasional
 Work related injury?: N
 Auto related injury?: Y
 If injured, is litigation ongoing?: Y
 Is blood transfusion acceptable in an emergency?: Y
Surgical Hist ory
 Reviewed Surgical History
   Caesarean Section
GYN Hist ory
 (not configured)
Past Medical Hist ory
 Reviewed Past Medical History
Document s for Discussion
 Discussed t he f ollowing document s:
  XR, LUMBOSACRAL SPINE, 4 OR MORE VIEW - 04/30/20

      Result Note: 5 vertebrae. Decreased disc space at L5-S1. No scoliosis. No spondylolisthesis.
  XR, CERVICAL SPINE, 4 OR 5 VIEW - 04/30/20

       Result Note: Localized kyphosis at C4-5. Decreased lordosis. No scoliosis.
ROS
 Patient reports back pain and neck pain. She reports numbness (RLE) and t ingling (Right f oot ) but
 reports no weakness, no headache, no dizziness, and no loss of consciousness. She reports no eye pain, no blurry
 vision, and normal movement. She reports no chest pain. She reports no chest tightness. She reports no
 abdominal pain. She reports no swelling, no bruising, no abrasions, and no lacerations.
Assessment / Plan
 Ms. Snearl has been complaining of neck pain, left arm pain, and lower back pain radiating down her right lower
 extremity since a Motor Vehicle Accident which occurred on 04/20/2020.
 We reviewed an x-ray of the cervical spine and lumbar spine with the patient.
 The x-ray of the cervical spine shows localized kyphosis at C4-5 and decreased lordosis.
 The x-ray of the lumbar spine shows decreased disc space at L5-S1.
 At this time, our plan is to send her to a course of physical therapy of the cervical spine and lumbar spine.
 If physical therapy does not help with her symptoms we will order an MRI.
 We will see her back in 6 weeks.

 1. Low back pain
     M54.5: Low back pain
      XR, LUMBOSACRAL SPINE, 4 OR MORE VIEW
     Views (X-RAY, LUMBAR SPINE): AP, Lateral, Flexion & Extension

 2. Neck pain
     M54.2: Cervicalgia
       PHYSICAL THERAPY REFERRAL -       Schedule Within: provider's discretion
     Note to Provider:
     Physical therapy C/sp, L/sp TIW - 4weeks Theurapeutic and streghtening exercises
     Dx: M54.5, M54.2
       XR, CERVICAL SPINE, 4 OR 5 VIEW
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                                                        - breast cancer
                                                     - Diabetes mellitus
 Mother                                              - Diabetes mellitus
Social Hist ory
 Social History not reviewed (last reviewed 06/17/2020)
 Ort hopedic Surgery
 Tobacco Smoking Status: Never smoker
 Non-smoker
 Smokeless Tobacco Status: Never used smokeless tobacco
 E-cigarette/Vape Status: Never used electronic cigarettes
 Are you currently employed?: Y
 Employer: LDH
 Occupation: Project Developer
 Live alone or with others?: with others
 Able to Care for Self: Y
 Chewing tobacco: none
 Alcohol intake: Occasional
 Work related injury?: N
 Auto related injury?: Y
 If injured, is litigation ongoing?: Y
 Is blood transfusion acceptable in an emergency?: Y
Surgical Hist ory
 Surgical History not reviewed (last reviewed 06/17/2020)
   Caesarean Section
GYN Hist ory
 (not configured)
Obst et ric Hist ory
 Obstetric History not reviewed (last reviewed 06/17/2020)
Past Medical Hist ory
 Past Medical History not reviewed (last reviewed 06/17/2020)
ROS
 Patient reports back pain and neck pain. She reports numbness (RLE) and t ingling (Right f oot -
 int ermit t ent ) but reports no weakness, no headache, no dizziness, and no loss of consciousness. She reports
 no eye pain, no blurry vision, and normal movement. She reports no chest pain. She reports no chest tightness.
 She reports no abdominal pain. She reports no swelling, no bruising, no abrasions, and no lacerations.
Physical Exam
 Patient is a 36-year-old female.

 Const it ut ional: General Appearance: healthy-appearing and normal body habitus.

 Psychiat ric: Orientation: oriented to time, place and person and appropriate Waddell's test. Mood and Affect:
 appropriate affection.

 Cervical Spine: Soft Tissue Palpation Right/Left: no tenderness of the trapezius or the spinal processes and
 t enderness of t he paracervicals bilat eral. Active Range of Motion: rot at ion t o t he lef t (85 deg.) and
 t he right (85 deg.) and f lexion (30 deg.) and ext ension (40 deg.).

 Mot or St rengt h: C5 on the Right: abduction deltoid 5/5. C5 on the Left: abduction deltoid 5/5. C6 on the Right:
 flexion biceps 5/5 and extension wrist 5/5. C6 on the Left: flexion biceps 5/5 and extension wrist 5/5. C7 on the
 Right: extension triceps 5/5 and flexion wrist 5/5. C7 on the Left: extension triceps 5/5 and flexion wrist 5/5. C8 on
 the Right: grip 5/5. C8 on the Left: grip 5/5. T1 on the Right: abduction fingers 5/5. T1 on the Left: abduction fingers
 5/5.

 Neurological Syst em: Biceps Reflex Right: normal (2). Biceps Reflex Left: normal on the left (2). Brachioradialis
 Reflex Right: normal (2). Brachioradialis Reflex Left: normal (2). Triceps Reflex Right: normal (2). Triceps Reflex
 Left: normal (2). Knee Reflex Right: normal (2). Knee Reflex Left: normal (2). Ankle Reflex Right: normal (2). Ankle
 Reflex Left: normal (2). Sensation on the Right: C5 normal, C6 normal, C7 normal, C8 normal, T1 normal, L1 normal,
 L2 normal, L3 normal, L4 normal, S1 normal, S2 normal, and decreased sensat ion on t he lat eral leg and
 dorsum of t he f oot (L5) (int ermit t ent ). Sensation on the Left: C5 normal, C6 normal, C7 normal, C8 normal,
 T1 normal, L1 normal, L2 normal, L3 normal, L4 normal, L5 normal, S1 normal, and S2 normal. Special Tests on the
 Left: Tinel's sign negative. Myelopathy Reflexes on the Right: Hoffman's absent and Clonus absent. Myelopathy
 Reflexes on the Left: Hoffman's absent and Clonus absent. Special Tests on the Right: straight leg raising test
 negative. Special Tests on the Left: straight leg raising test negative.

 Gait and St at ion: Appearance: normal gait, no limp, and ambulating with no assistive devices.

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 Mot or St rengt h: C5 on the Right: abduction deltoid 5/5. C5 on the Left: abduction deltoid 5/5. C6 on the Right:
 flexion biceps 5/5 and extension wrist 5/5. C6 on the Left: flexion biceps 5/5 and extension wrist 5/5. C7 on the
 Right: extension triceps 5/5 and flexion wrist 5/5. C7 on the Left: extension triceps 5/5 and flexion wrist 5/5. C8 on
 the Right: grip 5/5. C8 on the Left: grip 5/5. T1 on the Right: abduction fingers 5/5. T1 on the Left: abduction fingers
 5/5.

 Neurological Syst em: Biceps Reflex Right: normal (2). Biceps Reflex Left: normal on the left (2). Brachioradialis
 Reflex Right: normal (2). Brachioradialis Reflex Left: normal (2). Triceps Reflex Right: normal (2). Triceps Reflex
 Left: normal (2). Knee Reflex Right: normal (2). Knee Reflex Left: normal (2). Ankle Reflex Right: normal (2). Ankle
 Reflex Left: normal (2). Sensation on the Right: C5 normal, C6 normal, C7 normal, C8 normal, T1 normal, L1 normal,
 L2 normal, L3 normal, L4 normal, S1 normal, S2 normal, and decreased sensat ion on t he lat eral leg and
 dorsum of t he f oot (L5) (int ermit t ent ). Sensation on the Left: C5 normal, C6 normal, C7 normal, C8 normal,
 T1 normal, L1 normal, L2 normal, L3 normal, L4 normal, L5 normal, S1 normal, and S2 normal. Special Tests on the
 Left: Tinel's sign negative. Myelopathy Reflexes on the Right: Hoffman's absent and Clonus absent. Myelopathy
 Reflexes on the Left: Hoffman's absent and Clonus absent. Special Tests on the Right: straight leg raising test
 negative. Special Tests on the Left: straight leg raising test negative.

 Gait and St at ion: Appearance: normal gait, no limp, and ambulating with no assistive devices.

 Lumbar Spine: Bony Palpation on the Right: t enderness of t he great er t rochant er. Bony Palpation on the
 Left: no tenderness of the greater trochanter. Soft Tissue Palpation on the Right: t enderness of t he
 paraspinal muscles and t he pirif ormis. Soft Tissue Palpation on the Left: t enderness of t he paraspinal
 muscles. Active Range of Motion: f lexion (80 deg.), ext ension (10 deg.) (wit h pain), and pain wit h
 mot ion.

 Mot or St rengt h: L1/L2 Motor Strength on the Right: hip flexion iliopsoas 5/5. L1/L2 Motor Strength on the Left:
 hip flexion iliopsoas 5/5. L3/L4 Motor Strength on the Right: knee extension quadriceps 5/5. L3/L4 Motor Strength
 on the Left: knee extension quadriceps 5/5. L4/L5 Motor Strength on the Right: ankle dorsiflexion tibialis anterior
 5/5, great toe extension extensor hallucis longus 5/5, and knee flexion hamstring 5/5. L4/L5 Motor Strength on the
 Left: ankle dorsiflexion tibialis anterior 5/5, great toe extension extensor hallucis longus 5/5, and knee flexion
 hamstring 5/5. S1 Motor Strength on the Right: plantar flexion gastrocnemius 5/5. S1 Motor Strength on the Left:
 plantar flexion gastrocnemius 5/5.

 Sacroiliac Joint Diagnost ic Provocat ive T est s: Sacroiliac Joint on the Right: Pat rick-Fabere t est
 posit ive (equivocal) and Fort in f inger t est posit ive (equivocal) and Gaenslen's test negative, thigh
 thrust test negative, and active straight leg raise test negative (equivocal). Sacroiliac Joint on the Left: Patrick-
 Fabere test negative, thigh thrust test negative, active straight leg raise test negative, and Fortin finger test
 negative.

 Good range of motion of the right knee, no tenderness on palpation, and normal physical exam on her right knee.
Assessment / Plan

 Ms. Snearl had an L4-5, L5-S1 MBB done on 12/14/2020 and 12/28/2020 with Dr. B. Johnston which provided 80%
 relief of her symptoms.

 She will follow up with Dr. Johnston to further discuss having the RFA done.

 We are giving her a prescription for Neurontin 100mg. Patient was instructed on the risks and benefits associated
 with taking these medications.

 We will see her back 2 weeks after having the injection done.


 1. Prolapsed cervical int ervert ebral disc
     M50.20: Other cervical disc displacement, unspecified cervical region

 2. Degenerat ion of lumbar int ervert ebral disc
     M51.36: Other intervertebral disc degeneration, lumbar region

 3. Low back pain
     M54.5: Low back pain
       Neurontin 100 mg capsule - Take 1 capsule(s) every day by oral route at bedtime for 21 days.           Qty: 21
     capsule(s)   Refills: 0 Pharmacy: WALGREENS DRUG STORE #02980

 4. Cervical kyphosis
     M40.202: Unspecified kyphosis, cervical region

 5. Art hropat hy of lumbar f acet joint - L4-5, L5-S1
     M46.96: Unspecified inflammatory spondylopathy, lumbar region


 Ret urn t o Office
 None recorded.
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Encount er Sign-Off
Encounter signed-off by Jorge Isaza, MD, 01/29/2021.

Encounter performed and documented by Jorge Isaza, MD
Encounter reviewed & signed by Jorge Isaza, MD on 01/29/2021 at 2:17pm
Encount er Dat e: 10/21/2020
Pat ient
Name                  SNEARL, MIYOSHI (36yo, F) ID#         Appt . Dat e/T ime 10/21/2020 02:20PM
                      29568
DOB                                                         Service Dept .     Spine Specialists of Louisiana
Provider              CLINT COSTANZA, PA-C
Insurance             Med Primary: BC
                        Insurance # :
                        Policy/Group #
                      Prescription: SURESCRIPTS LLC - This member could not be found in the payer's files. Please
                        verify coverage and all member demographic information. details
Chief Complaint
 Followup: Degeneration of lumbar intervertebral disc
 Followup: Low back pain
 Followup: Prolapsed cervical intervertebral disc
 Followup: Cervical kyphosis
 Followup: Arthropathy of lumbar facet joint

 Ms. Snearl is here for a follow up today.
 She had a Right L5-S1 TF ESI on 10/5/2020 with Dr. B. Johnston which did not give her any relief.
 She reports that she continues experiencing right sided lower back pain and right leg pain. The pain on her right
 leg starts on the right hip and it radiates down the back of the right leg into her knee.
 She does state that her pain overall is not constant and that it comes and goes.
 She has trouble sleeping on her right side.
 We prescribed her Robaxin and Zanaflex which does help her some and helps her sleep longer at night.
 She is working from home at this time.
 Overall, she rates her pain level a 6/10.
Pat ient 's Care Team
 Ot her: RACHELLE SANDERS: 10310 THE GROVE BLVD, BATON ROUGE, LA 70836, Ph (225) 761-5200, Fax (225) 761-
 7222
Pat ient 's Pharmacies
 WALGREENS DRUG ST ORE #02980 (ERX): 4747 S SHERWOOD FOREST BLVD, BAT ON ROUGE, LA 70816,
 Ph (225) 292-8975, Fax (225) 292-4746
Vit als
 10/21/2020 01:53 pm
               Ht : 5 ft 8 in               Pain Scale: 6

Allergies
 Reviewed Allergies
 NKDA
Medicat ions

 Reviewed Medications

 diclof enac sodium 50 mg t ablet ,delayed release                                      10/21/20 prescribed
 Take 1 tablet(s) twice a day by oral route with meals for 21 days.

 meloxicam 7.5 mg t ablet                                                               07/08/20 prescribed
 Take 1 tablet(s) every day by oral route with meals for 21 days.

 met hocarbamoL 500 mg t ablet                                                          08/28/20 prescribed
 Take 1 tablet(s) twice a day by oral route with meals for 21 days.

 Zanaf lex 4 mg t ablet                                                                 08/28/20 prescribed
 Take 1 tablet(s) every day by oral route at bedtime for 21 days.

Vaccines
                                                                                             MS-SSLA-000102
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 Reflex Left: normal (2). Sensation on the Right: C5 normal, C6 normal, C7 normal, C8 normal, T1 normal, L1 normal,
 L2 normal, L3 normal, L4 normal, S1 normal, S2 normal, and decreased sensat ion on t he lat eral leg and
 dorsum of t he f oot (L5) (int ermit t ent ). Sensation on the Left: C5 normal, C6 normal, C7 normal, C8 normal,
 T1 normal, L1 normal, L2 normal, L3 normal, L4 normal, L5 normal, S1 normal, and S2 normal. Special Tests on the
 Left: Tinel's sign negative. Myelopathy Reflexes on the Right: Hoffman's absent and Clonus absent. Myelopathy
 Reflexes on the Left: Hoffman's absent and Clonus absent. Special Tests on the Right: straight leg raising test
 negative. Special Tests on the Left: straight leg raising test negative.

 Gait and St at ion: Appearance: normal gait, no limp, and ambulating with no assistive devices.

 Lumbar Spine: Bony Palpation on the Right: t enderness of t he great er t rochant er. Bony Palpation on the
 Left: no tenderness of the greater trochanter. Soft Tissue Palpation on the Right: t enderness of t he
 paraspinal muscles and t he pirif ormis. Soft Tissue Palpation on the Left: t enderness of t he paraspinal
 muscles. Active Range of Motion: f lexion (80 deg.), ext ension (10 deg.) (wit h pain), and pain wit h
 mot ion.

 Mot or St rengt h: L1/L2 Motor Strength on the Right: hip flexion iliopsoas 5/5. L1/L2 Motor Strength on the Left:
 hip flexion iliopsoas 5/5. L3/L4 Motor Strength on the Right: knee extension quadriceps 5/5. L3/L4 Motor Strength
 on the Left: knee extension quadriceps 5/5. L4/L5 Motor Strength on the Right: ankle dorsiflexion tibialis anterior
 5/5, great toe extension extensor hallucis longus 5/5, and knee flexion hamstring 5/5. L4/L5 Motor Strength on the
 Left: ankle dorsiflexion tibialis anterior 5/5, great toe extension extensor hallucis longus 5/5, and knee flexion
 hamstring 5/5. S1 Motor Strength on the Right: plantar flexion gastrocnemius 5/5. S1 Motor Strength on the Left:
 plantar flexion gastrocnemius 5/5.

 Sacroiliac Joint Diagnost ic Provocat ive T est s: Sacroiliac Joint on the Right: Pat rick-Fabere t est
 posit ive (equivocal) and Fort in f inger t est posit ive (equivocal) and Gaenslen's test negative, thigh
 thrust test negative, and active straight leg raise test negative (equivocal). Sacroiliac Joint on the Left: Patrick-
 Fabere test negative, thigh thrust test negative, active straight leg raise test negative, and Fortin finger test
 negative.
Assessment / Plan
 Ms. Snearl is doing about the same since seeing us last. She continues with lower back pain that radiates into the
 posterior right leg. She denies any numbness or tingling in the extremity.
 She had the right-sided L5-S1 TF ESI on 10/5/2020 with Dr. B. Johnson which did not give her relief. She denies any
 improvement with this procedure.
 We reviewed the MRI again today and discussed various types of lumbar injections.
 We will send her to Dr. B. Johnson for L5-S1 facet injections, possible RFA to help with her symptoms. She is
 interested in considering additional physical therapy in the future if this does not provide her relief.
 She also has facet arthropathy at L4-5 on the MRI and on the physical exam, she has limited findings of SI joint
 dysfunction which could be producing some of her symptoms.
 She will discontinue the Mobic and start Voltaren medication. Patient was instructed on the risks and benefits
 associated with taking these medications.
 She was evaluated by her gynecologist and is awaiting an ultrasound. Her urologist reassured her regarding the
 kidney cyst.


 1. Prolapsed cervical int ervert ebral disc
     M50.20: Other cervical disc displacement, unspecified cervical region

 2. Degenerat ion of lumbar int ervert ebral disc
     M51.36: Other intervertebral disc degeneration, lumbar region

 3. Low back pain
     M54.5: Low back pain
       PAIN MANAGEMENT REFERRAL -           Schedule Within: provider's discretion Note to Provider: Refer to Dr.
     Johnston for L5-S1 facet injection, possible Rhizotomy.
       diclofenac sodium 50 mg tablet,delayed release - Take 1 tablet(s) twice a day by oral route with meals for
     21 days.    Qty: 42 tablet(s)    Refills: 0  Pharmacy: WALGREENS DRUG STORE #02980

 4. Cervical kyphosis
     M40.202: Unspecified kyphosis, cervical region

 5. Art hropat hy of lumbar f acet joint
     M46.96: Unspecified inflammatory spondylopathy, lumbar region


 Ret urn t o Office
 None recorded.
Encount er Sign-Off
Encounter signed-off by Jorge Isaza, MD, 10/21/2020.

Encounter performed and documented by CLINT COSTANZA, PA-C
Encounter reviewed & signed by Jorge Isaza, MD on 10/21/2020 at 3:14pm
                                                                                               MS-SSLA-000104
          Case
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SNEARL, MIYOSHI 3:21-cv-00266-SDD-SDJ
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Encount er Dat e: 01/29/2021
Pat ient
Name                     RL, MIYOSHI (37yo, F) ID#        Appt . Dat e/T ime 01/29/2021 10:45AM

DOB                                                       Service Dept .       Spine Specialists of Louisiana
Provider            JORGE ISAZA, MD
Insurance           Med Primary: BC
                      Insurance # :
                      Policy/Group #
                    Prescription: SURESCRIPTS LLC - This member could not be found in the payer's files. Please
                      verify coverage and all member demographic information. details
Chief Complaint
 Followup: Degeneration of lumbar intervertebral disc
 Followup: Low back pain
 Followup: Prolapsed cervical intervertebral disc
 Followup: Cervical kyphosis
 Followup: Arthropathy of lumbar facet joint

 Mrs. Snearl is here for a 3 month follow up.
 She has been seeing Dr. B. Johnston since last seen.
 She reports that she underwent a L4-5 L5-S1 MBB's on 12/14/2020 and a repeat block on 12/28/2020 which gave
 her 80% relief of her lower back pain and the radiating pain down her right leg. She reports that it did not help
 with her right knee pain and wonders if this could be associated with something else.
 She was supposed to have the RFA on 1/11/2021 but cancelled as she wanted to further discuss with us the
 procedure.
 She is also asking about being referred to a chiropractor for adjustments as she feels very stiff at times.
 She continues experiencing lower back pain and radiating right leg pain.
 She describes the lower back pain as a burning sensation. The pain on her right leg is an aching sensation. She
 denies any numbness and tingling sensation on her legs.
 She has been taking Diclofenac 50mg to help her symptoms but when she is sitting down for a while the pain
 flares up. Also, driving or sitting on a couch or on the bed with her legs extended, she feels uncomfortable.
 She is working at this time.
 On average, she rates her pain level a 6/10.
Pat ient 's Care Team
 Ot her: RACHELLE SANDERS: 10310 THE GROVE BLVD, BATON ROUGE, LA 70836, Ph (225) 761-5200, Fax (225) 761-
 7222
Pat ient 's Pharmacies
 WALGREENS DRUG ST ORE #02980 (ERX): 4747 S SHERWOOD FOREST BLVD, BAT ON ROUGE, LA 70816,
 Ph (225) 292-8975, Fax (225) 292-4746
Vit als
 None recorded.
Allergies
 Allergies not reviewed (last reviewed 10/21/2020)
 NKDA
Medicat ions

 Reviewed Medications

 chlorhexidine gluconat e 0.12 % mout hwash                                             07/13/20 filled

 diclof enac sodium 50 mg t ablet ,delayed release                                      12/22/20 changed
 TAKE 1 TABLET BY MOUTH TWICE DAILY WITH MEALS FOR 30 DAYS

 met hocarbamoL 500 mg t ablet                                                          08/28/20 prescribed
 Take 1 tablet(s) twice a day by oral route with meals for 21 days.

 Neuront in 100 mg capsule                                                              01/29/21 prescribed
 Take 1 capsule(s) every day by oral route at bedtime for 21 days.

 Polyt ussin DM 1 mg-5 mg-10 mg/5 mL oral syrup                                         02/10/20 filled
 TK 10 ML PO Q 4 H FOR 3 DAYS

                                                                                             MS-SSLA-000099
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                                             Judge: FIELDS, WILSON E Session: 9/24/2020


C-673289
                       This matter came on for continuation of trial by jury. Present in court was: Chandler Loupe,
25
                       counsel for the plaintiff, Sharon Miles; Floyd Buras and Brett Maurin, counsel for defendants,
09/24/2020
                       Kentrail Johnson and GEICO; and Jonathan Mayeux, counsel for defendant, Liberty Personal
                       Insurance Company as UM insurers. The jury entered the courtroom. Closing arguments were
                       made by counsel. The Court charged the jury as to the law applicable to the case. The alternate
                       was excused. The jury was retired to deliberate at 11:40 a.m. At 1:31 p.m. the jury returned to
                       the courtroom and through its foreperson delivered the following verdict:
                                                          Jury Verdict Form

                       1. Do you find Kentrail Johnson to be at fault in causing the accident on December 22, 2017?
                       Yes
                           (Please proceed to Question No. 2)

                       2. Do you find Cory Cummings to be at fault in causing the accident on December 22, 2017?
                       Yes
                           If the answer to Question 1 & 2 is Yes, go to Question 3.
                           If the answer to Question 1 &2 is No, sign and date the form.
                           If you answer Yes to only Question 1 OR 2, and not both, go to Question 4.

                       3. What percentage of fault do you assign to:
                           Kentrail Johnson           20
                           Cory Cummings               80
                               Total                       100

                       4. Do you find that Sharon Miles suffered injuries that were cause by the motor vehicle crash
                       that occurred on December 22, 2017? Yes
                            If the answer to Question 4 is YES, proceed to Question 5.
                            If the answer to Question 4 is NO, sign and date the form.

                       5. What amount, if any, in dollars and cents, will fairly compensate Sharon Miles for her injuries:

                           A. Medical expenses past                           $38,610.00

                           B. Physical pain and suffering- past              $50,000.00

                           C. Physical pain and suffering -future           $5,000.00

                           D. Loss of enjoyment of life - past               $30,000.00

                           E. Loss of enjoyment of life -future             $5,000.00

                       Signed ,               ,
                       Jury Foreperson
                       Dated 24th day of September, 2020

                       Polling of the jury was waived by all counsel. The Court thanked and excused the jury from
                       further service. Court was adjourned at 1:40 p.m.
                       Kim Ford; 09/24/2020 (1 hour)
                                             Judge: FIELDS, WILSON E Session: 9/23/2020
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